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             In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                 (Filed: October 27, 2016)
                                       No. 12-729V
                                     UNPUBLISHED

* * * * * * * * * * * * *
KEVIN MANCILLA LOPEZ,   *                                     Decision on Joint Stipulation;
                        *                                     Acute Disseminated
                        *                                     Encephalomyelitis (“ADEM”);
         Petitioner,    *                                     Guillain-Barre Syndrome
                        *                                     (“GBS”); Hepatitis B;
v.                      *                                     Tetanus-diphtheria-acellular
                        *                                     Pertussis (“TDaP”);
SECRETARY OF HEALTH     *                                     Inactivated polio (“IPV”);
AND HUMAN SERVICES,     *                                     Measles-mumps-rubella
                        *                                     (“MMR”); Hepatitis A;
         Respondent.    *                                     Human papilloma virus
                        *                                     (“HPV”)
* * * * * * * * * * * * *

Mark L. Krueger, Krueger & Hernandez, Baraboo, WI, for petitioner.
Julia W. McInerny, US Department of Justice, Washington, DC, for respondent.

                           DECISION ON JOINT STIPULATION1

Roth, Special Master:

       On October 26, 2012, Kevin Mancilla Lopez [“petitioner”] filed a petition for
compensation under the National Vaccine Injury Compensation Program.2 Petitioner alleges that
he developed Guillain-Barre Syndrome (“GBS”) and/or Acute Disseminated Encephalomyelitis

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I
intend to post this decision on the United States Court of Federal Claims' website, in accordance
with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified
as amended at 44 U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), a party
has 14 days to identify and move to delete medical or other information, that satisfies the criteria
in 42 U.S.C. § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a motion for
redaction must include a proposed redacted decision. If, upon review, I agree that the identified
material fits within the requirements of that provision, I will delete such material from public
access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
Hereinafter, for ease of citation, all “§” references to the Vaccine Act will be to the pertinent
subparagraph of 42 U.S.C. § 300aa (2012).

                                                 1
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(“ADEM”) as a result of receiving a tetanus-diphtheria-acellular pertussis (“TDaP”), hepatitis B,
inactivated polio (“IPV”), measles-mumps-rubella (MMR), hepatitis A, and human papilloma
virus (“HPV”) vaccines on January 7, 2011. See Stipulation, filed October 27, 2016, at ¶¶ 1-4
[ECF No. 59]. Respondent denies that any of the above immunizations caused petitioner’s
injury. Stipulation at ¶ 6.

         Nevertheless, the parties have agreed to settle the case. On October 27, 2016, the parties
filed a joint stipulation agreeing to settle this case and describing the settlement terms.

Respondent agrees to issue the following payment:

           (1) A lump sum of $1,230,510.37, representing compensation for first year life
               care expenses ($172,844.07), lost earnings ($728,776.59), pain and suffering
               ($245,00.00), and past unreimbursable expenses ($83,889.71), in the form of
               a check payable to petitioner, Kevin Mancilla Lopez;

           (2) A lump sum of $20,712.20, representing reimbursement of a lien for vaccine-
               related services rendered on behalf of petitioner, in the form of check
               payable jointly to petitioner and

                               California Department of Health Care Services
                                        Recovery Branch – MS 4720
                                              P.O. Box 997421
                                        Sacramento, CA 95899-7421
                                           Attn: Class Action Unit
                                 DHCS Account No.: C94758194F-VAC03

           (3) An amount sufficient to purchase the annuity contract described in
               paragraph 10 of the Stipulation, paid to the life insurance company from
               which the annuity will be purchased.

       I adopt the parties’ stipulation attached hereto, and award compensation in the amount
and on the terms set forth therein. The clerk of the court is directed to enter judgment in
accordance with this decision.3

IT IS SO ORDERED.

                              s/ Mindy Michaels Roth
                                 Mindy Michaels Roth
                                 Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a
notice renouncing the right to seek review.
                                                 2
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